     Case 2:87-cr-00422-JAK Document 4472 Filed 07/22/22 Page 1 of 4 Page ID #:54289



 1    STEPHANIE S. CHRISTENSEN
      Acting United States Attorney
 2    SCOTT M. GARRINGER
      Assistant United States Attorney
 3    Chief, Criminal Division
      J. MARK CHILDS (Cal. Bar No. 162684)
 4    JOHN J. LULEJIAN (Cal. Bar No. 186783)
      Assistant United States Attorney
 5         1200 United States Courthouse
           312 North Spring Street
 6         Los Angeles, California 90012
           Telephone: (213) 894-0721
 7         Facsimile: (213) 894-0142
           E-mail:    john.lulejian@usdoj.gov
 8
      Attorneys for Plaintiff
 9    UNITED STATES OF AMERICA

10                            UNITED STATES DISTRICT COURT

11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

12    UNITED STATES OF AMERICA,                No. 2:87-cr-00422-JAK

13               Plaintiff,                    UNITED STATES’ EX PARTE
                                               APPLICATION TO UNSEAL ARREST
14                     v.                      WARRANT; DECLARATION OF JOHN J.
                                               LULEJIAN; [Proposed] ORDER
15    RAFAEL CARO-QUINTERO,

16               Defendant.

17

18

19

20

21

22

23

24

25

26

27

28
     Case 2:87-cr-00422-JAK Document 4472 Filed 07/22/22 Page 2 of 4 Page ID #:54290



 1          Plaintiff United States of America, by and through its counsel

 2    of record, the Acting United States Attorney for the Central District

 3    of California and Assistant United States Attorneys J. Mark Childs

 4    and John J. Lulejian, hereby files its Ex Parte Application to Unseal

 5    Arrest Warrant.

 6          This ex parte application is based upon the attached Declaration

 7    of John J. Lulejian.

 8     Dated: July 22, 2022                 Respectfully submitted,

 9                                          STEPHANIE S. CHRISTENSEN
                                            Acting United States Attorney
10
                                            SCOTT M. GARRINGER
11                                          Assistant United States Attorney
                                            Chief, Criminal Division
12

13                                          /s/ John J. Lulejian
                                            J. MARK CHILDS
14                                          JOHN J. LULEJIAN
                                            Assistant United States Attorneys
15
                                            Attorneys for Plaintiff
16                                          UNITED STATES OF AMERICA
17

18

19

20

21

22

23

24

25

26

27

28

                                               2
     Case 2:87-cr-00422-JAK Document 4472 Filed 07/22/22 Page 3 of 4 Page ID #:54291



 1                          DECLARATION OF JOHN J. LULEJIAN

 2    I, John J. Lulejian, declare as follows:

 3          1.    I am an Assistant United States Attorney and am one of the

 4    attorneys representing the United States in United States v. Rafael

 5    Caro-Quintero, Case No. 2:87-cv-00422-JAK.          I make this declaration

 6    in support of the United States’ Ex Parte Application to Unseal

 7    Arrest Warrant.

 8          2.    According to the Court’s document management system, on

 9    May 13, 1987, a federal grand jury sitting in Los Angeles,

10    California, returned an indictment in the above-captioned case.             On

11    that same date, the Honorable Venetta S. Tassopulos, then United

12    States Magistrate for the Central District of California authorized

13    the issuance of an arrest warrant for defendant RAFAEL CARO-QUINTERO

14    (Docket No. 2518).     Although the Seventh Superseding Indictment is

15    the operative charging instrument in this case, the 1987 warrant for

16    RAFAEL CARO-QUINTERO’s arrest still is valid.          That arrest warrant

17    remains under seal.

18          3.    I am informed and believe that on or about July 15, 2022,
19    Mexican authorities arrested RAFAEL CARO-QUINTERO in Sinaloa, Mexico,

20    and that he is currently in custody in a Mexican prison.

21          4.    The United States intends to extradite defendant RAFAEL

22    CARO-QUINTERO to stand trial in this District on the charges alleged

23    in the Seventh Superseding Indictment.         Therefore, the United States

24    respectfully requests that the Court unseal defendant RAFAEL CARO-

25    QUINTERO’s arrest warrant so that the United States may provide the

26    arrest warrant to Mexico as part of its request for extradition.

27    \\

28    \\
     Case 2:87-cr-00422-JAK Document 4472 Filed 07/22/22 Page 4 of 4 Page ID #:54292



 1          5.    Further, because defendant RAFAEL CARO-QUINTERO is in

 2    custody, there no longer is a reason for this document to remain

 3    under seal.

 4          I declare under penalty of perjury that the foregoing is true

 5    and correct to the best of my knowledge.

 6

 7          Executed this 22nd day of July, 2022, at Los Angeles,

 8    California.

 9                                       /s/ John J. Lulejian
                                         JOHN J. LULEJIAN
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                               2
